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         Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 198 of 496
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               Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 199 of 496
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                                     Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 201 of 496
          Julius W. McKay, II                                          Law Offices                                      Douglas McKay, Jr.
        . Mark D. Cauthen                                                                                                    (1917-2008)
          Daniel R. Settana, Jr.             McKAY, CAUTHEN, SETTANA                     & STUBLEY, P.A.                   Telephone
          M. Stephen Stubley
                                                                                                                         (803) 256-4645
          Janet Brooks Holmes                                           P.O. Box 7217
        · Peter P. Leven tis
                                                                                                                               Fax
                                                             Columbia, South Carolin_a 29202-7217                        (803) 765-1839
                                                                                                                             E-Mail
            Kelli L. Sullivan*
                                                                                                                       mms@mckayfirm.com
            Erin Farrell Farthing                                   1303 Blanding Street
                                                                                                                              Web
            Temus C. Miles, Jr.                                Columbia, South Carolina 2920 I                         www.mckayfirrn.com
            David M. Bornemann
            Brandon P. Jones
                                                                                                                     *S.C. Certified Mediator
            James E. L. Fickling


                                                                            June 17, 2014

                      Via Hand Delivery:
                      The Honorable L. Casey Manning
                      Chlef Administrative Judge
                      Fifth Judicial Circuit
                      1201 Main St., Room 124
                      P.O. Box 192
                      Columbia, SC 29202-0192

                                     Re:   Anthony Cook v. Attorney General's Office et al.
                                           Dominic Gallman v. Warden McK.ie, et al.
                                           Case No:     13-CP-40-00084, 13-CP-40-02294
                                           Claim Nos:   92579, 93510
                                           Our File No: 9-384

                      Dear Judge Manning:

                              Thank you for speaking with me _this morning regarding my request for continuance in this
                      case. I represent SCDC and the Attorney General's Office in cases 2013-CP-40-2294 (which was #4
                      on the trial roster for the week of June 23, 2014), as well as the companion case -0084. We have
                      several motions pending in both of these cases, each of which have repeatedly been continued at the
                      request of Plaintiffs.                                         1

                              As I mentioned in our conversation this morning, you have previously reclised yourself in these
                      cases involving inmate Lawrence Crawford, a/k/a Jah Jah Tishbite, King of the North. He has named a
                      litany of defendants and members of the judiciary, including yourself, in various complaints around the
                      country. As part of our request for a continuance, we also respectfully requested that these cases be
                      consolidated and placed on the Complex Case Roster. For the sake of judicial expediency, we believe
                      that a singular Judge hearing all further matters in these cases would provide much needed continuity
                      and clarity.

                              Thank you again for agreeing to take care of our request for a continuance in this matter. I have
,                     enclosed a proposed order for your signature, should it meet your approval. If I can provide anything
                      further to the court, please let me know.

                                                                                                    Sincerely,

                                                                                                 ~~ Meghan Hazelwood Hall
      Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 202 of 496

cc:   Anthony Cook #115157
      Lawrence ~- Crawford, #300839
      Dominic Gallman #234627
      Aerialle J. Crawford
      Quinta D. Lee
      Paul Gunter (via hand delivery)
      Kristy Kohl (via hand delivery)
                                        Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 203 of 496
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           Meghan Hall

           From:                                       Manning, L. Casey Law Clerk (Eve Goodstein) <CManningLC@sccourts.org >
           Sent:                                       Thursday, June 19, 2014 4:07 PM
           To:                                         Meghan Hall
           Cc:                                          au Gunter (GUNTERP@rcgov.us); kohlk@rcgov.us
           Subject:                                     E: Gallman v. SCAG; C/A No. 2013-CP-40- 294

           Follow Up Flag:                             Follow up
           Flag Status:                                Completed


           Megh.an,

           Judge Manning has signed your proposed orde.r in this case.

           Thank you,
           Eve


           From: Meghan Hall [mailto:mhall@mckayfirm.com]
           Sent: Friday, June 13, 2014 12:26 PM
           To: Manning, L. casey Law aerk (Eve Goodstein)        .
           Cc: Paul Gunter (GUNTER~@rcgov.us); kohlk@rcgov.us; Manning, L. Casey Secretary (Ada H. James)
           Subject: FW: Gallman v. SCAG; C/A No. 2013-CP-40-2294

           Dear Eve,

           I am following up again regarding our request for a continuance in the above-referenced matter. This case is presently
           #4 on the trial roster for the week of June 23, 2014. I failed to mention in my previous email that Judge Manl')_ing
           previously recused himself of matters involving one of the Plaintiffs in this case, inmate Lawrence Crawford, a/k/a Jah
           Jah Tishbite, as the Plaintiff claimed to have added him as a Defendant to another lawsuit. As such, we would seek a
   /       continuance on that additional ground, as well as the others I previously en·umerated in my letters and emails to theI
           Court. Finally, I am the associate handling this case, and I am scheduled to be out of town the week of June 23, 2014: I
           did not seek protection because this case was not ready for trial, and there are many outstanding motions in both 2013-
           CP-40-2994 and -0084, which require hearings before this case can be tried. We would respectfully request a
           continuance in this matter, and ask that these cases be consolidated and placed on the Complex Case Roster.

           If I can provide any additional information to the court, or set up a status hearing, please let me know. I look forward to
           hearing from you at your earliest convenience.

           Sincerely,
           Meghan Hall

           Meghan Hazelwood Hall, Esq.
           McKay, Cauthen, Settana & Stubley, PA
           1303 Blanding Street (29201)
           P.O. Drawer 7217
           Columbia, SC 29202-7217
           803-256-4645 ext. 132
           803-765-1839 (fax)
               mhall®mckayfirm.com
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                                          •   Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 204 of 496
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                                                                         NOTICE OF MOTION SCHEDULING
        STATE OF
     SOUTH CAROLINA                                                                      February 11, 2014

                                                      Motion "MMFDEF - Affidavit of Facts Seeking to File Objections to
                                                      Counsel Sub" for Case: 2013CP4002294 - Dominic #234627 Gallman,
                                                      plaintiff, ~tal vs Warden McKie, defendant, et al has been added to the
                                                      following Motions Roster:

                                                      648 - MOTION ROSTER MARCH 6, 2014 COURTROOM
                                                      This hearing of this motion has been scheduled for 3/6/2014 at 2:00 PM.


                                                      The above: referenced case is scheduled for a Motion Hearing before Judge Eugene C.
                                                      Griffith, Jr. The Plaintiff's Attorney is to notify the Defendant in writing of the time and date
                                                      of all Default and Damages Hearings. All requests for continuances must be in writing with a
                                                      $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                                                      request for a continuance does not guarantee that a case will be continued. Please notify the
                                                      Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                                                      memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                                                      SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, February
                                                      26, 2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY
                                                      AND DISK: OR IT CAN BE SENT BY EMAIL TO EGriffithLC@sccourts.org.




                                                                                                 ·          /            Com1 Info:         /
                                                                                                        I                              ./


                                                 Lawrence L. # 300839 Crawford                                  Richland County Common Pleas
                                                    Lieber Correctional Inst.                                   Richland County Judicial Center
                                                          Po Box 205                                                   1701 Main Street
                                                     Ridgeville, SC 294 72                                        Columbia, SC 29201-_9201




                                                                                                Judge L. Casey Manning
                                                                                                Chief Adminstrative Judge
                                                                                                Fifth Judicial Circuit
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               \        ...         Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 205 of 496
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                                                                                                           NOTICE OF MOTION SCHEDULING
            STATE OF
         SOUTH CAROLINA
                                                                                                                   - March 20, 2014                      ":B~~V}~ .                                     _
                                                      Motion "MMSTAY -Affidavit of Facts Seeking to File Objection to                                                                          ~-r      jL
                                                      Defendants"' for Case: 2013CP4000084 - Anthony #115157 Cook,
                                                      plaintiff, et al vs CPL Bouch , defendant, et al has been added to the
                                                      following Motions Roster:

                                                      668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                                                      This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.



                                                       The above referenced case is scheduled for a Motion Hearing b ore Judge Alison R. Lee.
                                                       The Plaintiffs Attorney is to notify the Defendant in writing of the tfii1m~"miTrmrtP."1~!Tr-
                                                       Default and Damages Hearings. All requests for continuances must be in writing with a
                                                       $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                                                       request for a continuance does not guarantee that a case will be continued. Please notify the
                                                       Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                                                       memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MlJST
                                                       SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, March 26,
                                                       2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                                                       DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




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                                         ,.. ,. :, Mail Notiite To:
                                          ~ , . _J,   ,,   .. • •   •   [   ~ . . . ,'. ~   ..   '//   •
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                                                                                                                           ,_         .        Court Info:
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                                            Anthony # 115157 (:ook                                                                    Richland County Common Pleas
                                         Lieber Correctional Instution                                                                Richland County Judicial Center
                                                 PO Box205                                                                                   1701 Main Street
                                            Ridgeville, SC 29472                                                                        Columbia, SC 29201-9201



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                                                                                                                         Judge James R. Barber III
                                                                                                                         Chief Adminstrative Judge
                                                                                                                         Fifth Judicial Circuit                     .(,/)'}
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      .', ..    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 206 of 496


Julius W. McKay, II                                    Law Offices                                    Douglas McKay, Jr.
Mark D. Cauthen                                                                                            (1917-2008)
Daniel R. Settana, Jr.       McKAY, CAUTHEN, SETTANA                     &       STUBLEY,   P.A.           Telephone
M. Stephen Stubley                                                                                      (803) 256-4645
Janet Brooks Holmes                                     P.O. Box 7217                                         Fax
Peter P. Leventis, IV                        Columbia, South Carolina 29202-7217                        (803) 765-1839
Kelli L. Sullivan*                                                                                        E-Mail
                                                                                                     mms@mckayfinn.com
                                                    1303 Blanding Street
                                                                                                          ·Web
Temus C. Miles, .Jr.                           Columbia, South Carolina 2920 I                       www.mckayfinn.com
David M. Bornemann
Brandon P. Jones                                                                                   *S.C. Certified Mediator
James E. L. Fickling+
                                                                                                     + Also licensed in N.C.
Richard E. Marsh, Ill
Meghan H. Hall

                                                   September 29, 2014

           Via Hand Delivery:
           The Honorable DeAndrea G. Benjamin
                                                                                                                                   ;
           1201 Main Street                                                                                                    /

           P.O. Box 192
           Columbia, SC 29202-0192

                     Re:   Anthony Cook v. Attorney General's Office et al.
                           Dominic Gallman v. Warden McKie, et al.
                           Case No:     13-CP-40-02294
                           Claim Nos:   925~9, 93510
                           Our File No: 9-384

           Dear Judge Benjamin:

                 I am writing to send a proposed order in the above referenced matter, civil action number
           2013-CP-40-02294.

                   This matter was scheduled for a hearing on Defendants South Carolina Department of
           Corrections, South Carolina Attorney General, Chief_Deputy Attorney General, Erin Farthing,
           and McKay, Cauthen, Settana and Stubley's ("Defendants") Motions to Dismiss on September
           12, 2014, in the Common Pleas Court for Richland County, South Carolina. On that date, you
           ruled that the case was dismissed, and gave Plaintiffs 15 days froin the date of the hearing to
           provide any proof of service that may exist.

                    To date, I am unaware of any such proof of service submitted by the Plaintiffs in this
           case. I have enclosed a Proposed Order dismissing this case with prejudice, pursuant to your
         · instructions. If this order meets your approval, I would ask that you please sign and return to me
           for filing in the enclosed, _self-addressed envelope.
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          ..,     Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 207 of 496

                            McKAY, CAUTHEN, SETTANA            & STUBLEY, P.A.
                               -
                   By copy of this letter to Plaintiffs, I am informing them of the same. Thank you very
            much for your consideration in this matter and please do not hesitate to contact me with any
            questions.


                                                      Sincerely,

                                                    ~ftlk-~
                                                      Meghan H. Hall

            cc:     Anthony Cook #115157
                    Lawrence L. Crawford, #300839
                    Dominic Gallman #234627
                    Aerialle J. Crawford
                    Qu'nt         e




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,'   I_.   I
               .'       Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 208 of 496
     Julius W. McKay, II                                    Law Offices                                     Douglas McKay, Jr.
     Mark D. Cauthen                                                                                             (1917-2008)
     Daniel R. Settana, Jr.       McKAY, CAUTHEN, SETIANA                     & STUBLEY, P.A.·                 Telephone
     M. Stephen Stubley
                                                                                                             (803) 256-4645
     Janet Brooks Holmes                                     P.O. Box7217                                          Fax
     Peter P. Leventis                            Columbia, South Carolina 29202-7217                        (803) 765-1839
                                                                                                                 E-Mail·
     Kelli L. Sullivan*
                                                                                                           mms@mckayfirm.com
     Erin Farrell Farthing                               1303 Blanding Street
                                                                                                                  Web
     Temus C. Miles, Jr.                            Columbia, South Carolina 2920 I
                                                                                                           www.mckayfirrn.com
     David M. Bornemann
     Brandon P. Jones
                                                                                                         *S.C. Certified Mediator
     James E. L. Fickling


                                                                June 17, 2014

                Via Hand Delivery:
                The Honorable L. Casey Manning
                Chief Administrative Judge
                Fifth Judicial Circuit
                1201 Main St., Room 124
                P.O. Box 192
                Columbia, SC 29202-0192

                          Re:   Anthony Cook v. Attorney General's Office et al.
                                Dominic Gallman v. Warden McKie, et al.
                                Case No:     13-CP-40-00084, 13-CP-40-02294
                                Claim Nos:   92579, 93510
                                Our File No: 9-384

                Dear Judge Manning:

                        Thank you for speaking with me this morning regarding my request for continuance in this
                case. I represent SCDC and the Attorney General's Office in cases 2013-CP-40-2294 (which was #4
                on the trial roster for the week of June 23, 2014), as well as the companion case -0084. We have
                several motions pending in both of these cases, each of which· have repeatedly been continued at the
                request-of Plaintiffs.

                         As I mentioned in our conversation this morning, you have previously recused yourself in these
                 cases involving inmate Lawrence Crawford, a/k/a Jah Jah Tishbite, King of the North. He has named a
               , litany of defendants and members of the judiciary, including yourself, in various complaints around the
                 country. As part of our request for a continuance, we also respectfully requested that_ these cases be
                 consolidated and placed on the Complex Case Roster. For the sake of judicial expediency, we believe
                 that a singular Judge hearing all further matters in these cases would provide much needed continuity
                 and clarity.

                        Thank you again for agreeing to take care of our request for a continuance in this matter. I have
                enclosed a proposed order for your signature, should it meet your approval. If I can provide anything
                further to the court, please let me know.

                                                                                        Sincerely,

                                                                                      ~µJ
                                                                                        Meghan Hazelwood Hall
         ..    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 209 of 496
'.   '




         cc:    Anthony Cook #115157
                Lawrence L. Crawford, #300839
                Dominic Gallman #234627
                Aerialle J. Crawford
               Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 210 of 496
·F;]t,
1~j-'




                Thank you very much for your consideration in this matter and please do not hesitate to
         contact me with any questions.

                                                    Sincerely,




         EFF/cma

         cc:    Anthony Cook #115157
                Lawrence L. Crawford, #300839
                Aerialle J. Crawford
                Quinta D. Lee
   ..    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 211 of 496
                                         NOTICE OF MOTION SCHEDULING
   STATE OF
SOUTH CAROLINA
                                                        March 20, 2014

                       Motion "MMSTAY - Affidavit of Facts Seeking to File Objection to
                       Defendants"' for Case: 2013CP4000084 - Anthony #115157 Cook,
                     · plaintiff, et al vs CPL Bouch , defendant, et al has been added to the
                       following Motions Roster:

                      668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                      This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                       The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                      ·The Plaintiff's Attorney is to notify the Defendant in writing of the time and date of all
                       Default and Damages Hearings. All requests for continuances must be in writing with a
                       $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                      request for a continuance does not guarantee that a case will be continued. Please notify the
                      Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                      memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                      SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, March 26,
                      2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                      DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                 ·     Mail Notice To:                                                Court Info:



                 Lawrence #300839 Crawford                                  Richland County Common Pleas
                  Kirkland Correctional Inst.                               Richland County Judicial Center
                   4344 Broad River Road                                           1701 Main Street
                     Columbia, SC 29210                                       Columbia, SC 29201-9201




                                                              Judge James R. Barber III
                                                              Chief Adminstrative Judge
                                                              Fifth Judicial Circuit
   .•   .   Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 212 of 496
                                        NOTICE OF MOTION SCHEDULING
   STATE OF
SOUTH CAROLINA
                                                      March 20, 2014

                     Motion "MMFDEF - Affidavit of Facts Opposing Defendants Notice of
                   · Motion to D" for Case: 2013CP4000084 - Anthony #115157 Cook,
                     plaintiff, et al vs CPL Bouch , defendant, et al has been added to the
                     following Motions Roster:

                    668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                    This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                     The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                     The Plaintiff's Attorney is to notify the Defendant in writing of the time and date of all
                     Default and Damages Hearings. All requests for continuances must be in writing with a
                     $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                     request for a continuance does not guarantee that a case will be continued. Please notify the
                     Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                     memorandum the Wednesday before the week of the hearing. ALU ATTORNEYS MUST
                     SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, March 26,
                     2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                     DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                      Mail Notice To:                                               Court Info:



                 Lawrence #300839 Crawford                                Richland County Common Pleas
                  Kirkland Correctional Inst.                             Richland County Judicial Center
                   4344 Broad River Road                                         1701 Main Street
                     Columbia, SC 29210                                     Columbia, SC 29201-9201




                                                            Judge James R. Barber III
                                                            Chief Adminstrative Judge
                                                            Fifth Judicial Circuit
   ..    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 213 of 496
                                        NOTICE OF MOTION SCHEDULING
   STATE OF
SOUTH CAROLINA
                                                      March 20, 2014

                 _ Motion "MSUPPL - Affidavit of Facts and or Motion to Supplement The
                   Writs or' for Case: 2013CP4000084 - Anthony #115157 Cook, plaintiff,
                   et al vs CPL Bouch , defendant, et al has been added to the following
                   Motions Roster:

                    668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B.
                    This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.



                     The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                     The Plaintiffs Attorney is to notify the Defendant in writing of the time and date of all
                     Default and Damages Hearings. · All requests for continuances must be in writing with a
                     $25 .00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                     request for a continuance does not guarantee that a case will be continued. Please notify the
                     Court in writing if the Motions .are resolved prior to the hearing. Please file any briefs or
                     memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                     SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, March 26,
                     2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                     DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                      Mail Notice To:                                               Com1 Info:



                 Lawrence #300839 Crawford                                Richland County Common Pleas
                  Kirkland Correctional Inst.                             Richland County Judicial Center
                   4344 Broad River Road                                         1701 Main Street
                     Columbia, SC 29210                                     Columbia, SC 29201-9201




                                                            Judge James R. Barber III
                                                            Chief Adminstrative Judge
                                                            Fifth Judicial Circuit
'.             Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 214 of 496
' '
                                              NOTICE OF MOTION SCHEDULING
         STATE OF
      SOUTH CAROLINA                                       · March 20, 2014

                          Motion "MSTRIK - Affidavit of Facts Seeking to Stike; Motion For
                          Judicial Not" for Case: 2013CP4000084 - Anthony #115157 Cook,
                          plaintiff, et al vs CPL Bouch , defendant, et al has been added to the
                          following Motions Roster:

                          668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                          This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                           The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                           The Plaintiffs Attorney is to notify the Defendant in writing of the time and date of all
                           Default and Damages Hearings. All requests for continuances must be in writing with a
                           $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                           request for a continuance does not guarantee that a case will be continued. Please notify the
                           Court in writing if the Motions'are resolved prior to the hearing. Please file any briefs or
                           memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                           SEND A PROPO~ED ORDER OR MEMORANDUM OF LAW BY Wednesday, March 26,
                           2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                           DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                            Mail Notice To:                                               Couii Info:



                       Lawrence #300839 Crawford                                Richland County Common Pleas
                        Kirkland Correctional Inst.                             Richland County Judicial Center
                         4344 Broad River Road                                         1701 Main Street
                           Columbia, SC 29210                                     Columbia, SC 29201-920_1




                                                                  Judge James R. Barber III
                                                                  Chief Adminstrative Judge
                                                                  Fifth Judicial Circuit
1   ~   •
               ..    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 215 of 496
                                                    NOTICE OF MOTION SCHEDULING
               STATE OF
            SOUTH CAROLINA
                                                                  March 20, 2014

                                Motion "MMFDEF - Motion For Default and Judgment" for Case:
                                2013CP4000084 - Anthony #115157 Cook, plaintiff, et al vs CPL Bouch
                                , defendant, et al has been added to the following Motions Roster:


                                668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                                This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                                 The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                                 The Plaintiffs Attorney is to notify the Defendant in writing of the time and date of all
                                 Default and Damages Hearings. All requests for continuance.s must be in writing with a
                                 $25.00 filing fee and received by the Chief Administrative Jui:lge prior to the hearing. A
                                 request for a continuance does not guarantee that a case will be continued. Please notify the
                                 Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                                 memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                                 SEND A PROPOSED ORDER OR.MEMORANDUM OF LAW BY Wednesday, March 26,
                                 2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                                 DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                                  Mail Notice To:                                               Court Info:



                             Lawrence #300839 Crawford                                Richland County Common Pleas
                              Kirkland Correctional Inst.                             Richland County Judicial Center
                               4344 Broad River Road                                         1701 Main Street
                                 Columbia, SC 29210                                     Columbia, SC 29201-9201




                                                                        Judge James R. Barber III
                                                                        Chief Adminstrative Judge
                                                                        Fifth Judicial Circuit
   ..     Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 216 of 496
                                             NOTICE OF MOTION SCHEDULING
   STATE OF
SOUTH CAROLINA
                                                          March 20, 2014

                        Motion "MDISMS - Motion to Dismiss S.C. Attorney General and Chief
                        Deputy Att" for Case: 2013CP4000084 - Anthony #115157 Cook,
                        plaintiff, et al vs CPL Bouch , defendant, et al has been added to the
                        following Motions Roster:

                        668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                        This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


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                         The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                         The Plaintiff's Attorney is to notify the Defendant in writing of the time and date of all
                         Default and Damages Hearings. All requests for continuances must be in writing with a
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                         request for a continuance does not guarantee that a case will be continued. Please notify the
                         Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
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                         2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                         DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                 .        Mail Notice To:                                               Court Info:



                     Lawrence #300839 Crawford                               Richland County Common Pleas
                      Kirkland Correctional Inst.                            Richland County Judicial Center
                       4344 Broad River Road                                        1701 Main Street
                         Columbia, SC 29210                                    Columbia, SC 29201-9201




                                                                Judge James R. Barber III
                                                                Chief Adminstrative Judge
                                                                Fifth Judicial Circuit
'•   .              Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 217 of 496
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                                                 NOTICE OF MOTION SCHEDULING
            STATE OF
         SOUTH CAROLINA
                                                                March 20, 2014

                             Motion "MSUBCN - Motion For Substitution of Counsel" for Case:
                             2013CP4000084 - Anthony #115157 Cook, plaintiff, et al vs CPL Bouch
                             , defendant, et al has been added to the following Motions Roster:


                             668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                             This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                              The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                              The Plaintiffs Attorney is to notify the Defendant in writing of the time and,date of all
                              Default and Damages Hearings. All requests for continuances must be in writing with a
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                              2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                              DISK: OR IT CAN BE SENT BY EMAIL TO ALeeLC@sccourts.org.




                               Mail Notice To:                                                Court Info:



                          Lawrence #300839 Crawford                                Richland County Common Pleas
                           Kirkland Correctional Inst.                             Richland County Judicial Center
                            4344 Broad River Road                                         1701 Main Street
                              Columbia, SC 29210                                     Columbia, SC 29201-9201




                                                                      Judge James R. Barber III
                                                                      Chief Adminstrative Judge
                                                                      Fifth Judicial Circuit
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             Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 218 of 496
                                        NOTICE OF MOTION SCHEDULING
   STATE OF
SOUTH CAROLINA
                                                      March 20, 2014

                    Motion "MD ISMS - Motion to Dismiss" for Case: 2013CP4000084 -
                    Anthony #115157 Cook , plaintiff, et al vs CPL Bouch , defendant, et al ·
                    has been added to the following Motions Roster:


                     668 - MOTION ROSTER APRIL 3, 2014 COURTROOM 3-B
                    This hearing of this motion has been scheduled for 4/3/2014 at 9:30 AM.


                     The above referenced case is scheduled for a Motion Hearing before Judge Alison R. Lee.
                     The Plaintiff's Attorney is to notify the Defendant in writing of the time and date of all
                     Default and Damages Hearings: All requests for continuances must be in writing with a
                     $25.00 filing tee and received by the Chief Administrative Judge prior to the hearing. A
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                     2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY AND
                     DISK: OR IT CAN BE SENT BY EMAIL TO ALe~LC@sccourts.org.




                      Mail Notice To:                                               Court Info:



                 Lawrence #300839 Crawford                               Richland County Common Pleas
                  Kirkland Correctional Inst.                            Richland County Judicial Center
                   4344 Broad River Road                                        170 I Main Street
                     Columbia, SC 29210                                    Columbia, SC 29201-920 I




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                                                            Judge James R. Barber III
                                                            Chief Adrninstrative Judge
                                                            Fifth Judicial Circuit




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                    ....   Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 219 of 496
                                                                               NOTICE OF MOTION SCHEDULING
                   STATE OF
                SOUTH CAROLINA                                                        February 11, 2014

                                      Motion "MMFDEF - Affidavit of Facts Seeking to File Objections to
                                      Counsel Sub" for Case: 2013CP4002294 - Dominic #234627 Gallman,
                                      plaintiff, et ~l vs Warden McKie , defendant, et al has been added to the
                                     /
                                      folloiing Motions Roster:
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                                      ';('hi:S h:¢aring of this motion has been scheduled for 3/6/2014 at 2:00 PM.



                                         Th~' above referenced case is scheduled for a Motion
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                                                                                                   Hearing before Judge Eugene
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                                         Griffith, Jr. The Plaintiff's Attorney is to notify the Defendant in writing of the time and. date
                                         of all Default and Damages Hearings. All requests for continuances must be in writing with a
                                         $25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
                                         request for a continuance does not guarantee that a case will be continued. Please notify the
                                         Court in writing if the Motions are resolved prior to the hearing. Please file any briefs or
                                         memorandum the Wednesday before the week of the hearing. ALL ATTORNEYS MUST
                                         SEND A PROPOSED ORDER OR MEMORANDUM OF LAW BY Wednesday, February
                                         26, 2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY
                                         AND DISK: OR IT CAN BE SENT BY EMAIL TO EGriffithLC@sccourts.org.




                                             Mail Notice To: ·                                                     Comt Info:               ·



                                 Lawrence L. # 300839 Crawford                                            Richland County Common Pleas
                                    Lieber Correctional Inst.                                             Richland County Judicial Center
                                          Po Box205                                                              1701 Main Street
                                     Ridgeville, SC 294 72                                                  Columbia, SC 29201-9201




                                                                                            Judge L. Casey Manning
                                                                                            Chief Adminstrative Judge
                                                                                            Fifth Judicial Circuit
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   STATE OF
           Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 220 of 496
                                                                         NOTICE 01" 1\1:0TION SCHEDULING
SOUTH CAROLINA
                                                                                 February 11, 2014

                                 Motion "MMSTAY - Affidavit of Facts Seeking to File Objection to
                                 Defendants"' for Case: 2013CP4002294 - Dominic #234627 Gallman ,
                                 pl~ihfi.fft et ,al vs Warden McKie , defendant, et al has been added to the
                                 followiri.g,M:otions Roster: ·
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                  ,· : / The above referenced case is scheduled for a Motion Hearing before Judge Eugene C.
                      , Gdffith, Jr. The Plaintiff's Attorney is to notify the Defendant in writing of the time and date
                    <.    oJ all Default and Damag~s Hear~gs. All requests for continuances must be in writing: with a
                         '$25.00 filing fee and received by the Chief Administrative Judge prior to the hearing. A
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                          SEND A PROPOSED 'ORDER OR MEMORANDUM OF LAW BY Wednesday, February
                          26, 2014 FOR THE MOTION HEARING THAT IS BEING HEARD ON HARD COPY
                          AND DISK: OR IT CAN BE SENT BY EMAIL TO EGriffithLC@sccourts.org.




           ·                       Mail Notice To:··                               '·                'r       Court Info:



                 Lawrence L. # 300839 Crawford                                                       Richland County Common Pleas
                    Lieber Correctional Inst.                                                        Richland County Judicial Center
                          Po Box205                                                                         1701 Main Street
                     Ridgeville, SC 294 72                                                             Columbia, SC 29201-9201




                                                                                        Judge L. Casey Manning
                                                                                        Chief Adminstrative Judge
                                                                                        Fifth Judicial Circuit
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                    Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 221 of 496




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Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 232 of 496




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Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 233 of 496
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Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 234 of 496




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Case 1:14-cv-14176-ADB Document 578-5 Filed 10/05/18 Page 238 of 496
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